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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff
                                             Case No. 1:20–cr–142
       v.                                    JUDGE DOUGLAS R. COLE

 ALEXANDER SITTENFELD,

                Defendant.

                                      ORDER

      This matter shall proceed to Jury Trial on June 21, 2022, at 9:00 a.m. The

Court ORDERS that no media equipment (laptops, tablets, etc.), other than mobile

phones, shall be allowed in Courtroom 805 or the overflow room (Room 724) during

the pendency of the trial in this matter by anyone who is observing the trial. Any

mobile phones, with the exception of counsel for the parties and Court staff, shall be

turned off during the proceedings. In addition, there shall be no recording or

messaging during the trial over any social media, including, but not limited to,

Twitter, Facebook, Instagram, or Snapchat. Any one in violation of this ORDER shall

be removed from the proceedings by Court Security.

      SO ORDERED.


June 17, 2022
DATE                                        DOUGLAS R. COLE
                                            UNITED STATES DISTRICT JUDGE
